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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

 DIANNE DORMAN,              §
                             §
    Plaintiff,               §
                             §
 v.                          §                   Civil Action No. 4:19-cv-00592-P
                             §
 PHH MORTGAGE CORPORATION §
 AND DEUTSCHE BANK           §
 NATIONAL TRUST COMPANY, AS §
 TRUSTEE FOR SECURITIZED     §
 ASSET BACKED RECEIVABLES    §
 LLC TRUST 2007-NC1, et al., §
                             §
    Defendants.              §

                           AMENDED FINAL JUDGMENT

      In accordance with the Court’s March 31, 2021 Order Granting Defendants’ Motion

for Summary Judgment (ECF No. 88):

      It is ORDERED, ADJUDGED, and DECREED that Plaintiff Dianne Dorman’s

claims are DISMISSED with prejudice.

      It is further ORDERED, ADJUDGED and DECREED that an event of default

has occurred on that certain Texas Home Equity Note executed by Plaintiff on or about

September 8, 2006, in the original principal amount of $190,000.00 payable to the order of

New Century Mortgage Corporation (the “Note”). Plaintiff has failed to make payments

required under the Note, is in breach of the Note and the Deed of Trust, as defined below,

and remains in default.
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       It is further ORDERED, ADJUDGED and DECREED that that certain Texas

Home Security Instrument, dated September 8, 2006, signed by Dianne Dorman and

recorded as document number D206296193 in the real-property records of Tarrant County,

Texas (the “Deed of Trust”), secures to Deutsche Bank National Trust Company, as Trustee

for Securitized Asset Backed Receivables LLC Trust 2007-NC1, Mortgage Pass-Through

Certificates, Series 2007-NC1 (“Deutsche Bank”), as the current holder of the Note and

mortgagee of the Deed of Trust, repayment of the debt evidenced by the Note and the other

loan documents, through a first-lien security interest in and power of sale of that certain

real property commonly known as 100 Ascot Dr., Southlake, Texas 76092 (the “Property”),

and more particularly described as follows:

       LOT 1, BLOCK 2, OF CHAPEL DOWNS, AN ADDITION TO THE CITY
       OF SOUTHLAKE, TARRANT COUNTY, TEXAS, ACCORDING TO
       THE PLAT THEREOF RECORDED IN CABINET A, SLIDE 386, OF THE
       PLAT RECORDS OF TARRANT COUNTY, TEXAS.

       It is further ORDERED, ADJUDGED and DECREED that the Deed of Trust

secures repayment of all advances by Defendants Deutsche Bank and PHH Mortgage

Corporation and their predecessors in interest on Plaintiff’s loan, whether for insurance,

property taxes, or otherwise, as well as their costs and expenses incurred enforcing the

Note, including but not limited to reasonable attorneys’ fees.

       It is further ORDERED, ADJUDGED and DECREED that due to Plaintiff’s

default under the Note, Defendants, or their successors or assigns, may foreclose upon the

lien created by the Deed of Trust and enforce the Deed of Trust against the Property through

non-judicial foreclosure as provided in the Deed of Trust and section 51.002 of the Texas


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Property Code, or, alternatively, through judicial foreclosure, and recover from the

proceeds of sale the full amount of the debt outstanding under the Note, Deed of Trust, and

the other loan documents.

       It is further ORDERED, ADJUDGED, and DECREED that Defendants may

recover their costs of suit as taxed in this matter from Plaintiff.

       The Clerk shall transmit a true copy of this Final Judgment to the parties.

       SO ORDERED on this 7th day of May, 2021.




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